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           ORAL ARGUMENT OCCURRED OCTOBER 8, 2020
         JUDGMENT AND OPINION ISSUED JANUARY 19, 2021

           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT
______________________________________________
                                               )
AMERICAN LUNG ASSOCIATION, ET AL.,             )
                                               )
     Petitioners,                              )
                                               ) No. 19-1140 and
                   v.                          ) consolidated cases
                                               )
ENVIRONMENTAL PROTECTION AGENCY, )
                                               )
     Respondent.                               )
______________________________________________)

                          STATUS REPORT

     1. The consolidated petitions for review in this case challenged

three rules: the Clean Power Plan (CPP) Repeal Rule; the Affordable

Clean Energy (ACE) Rule which established emissions guidelines for

existing coal-fired power plants under the Clean Air Act, 42 U.S.C.

§ 7411(d); and updated regulations for implementation of emissions

guidelines under Section 7411(d). See 84 Fed. Reg. 32,520 (July 8,

2019).
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     2. On January 19, 2021, this Court issued its decision, vacating

the CPP Repeal Rule, the ACE Rule, and the timing provisions within

the implementing regulations. See ACE Decision, Doc. Id. No. 1880546.

     3. The Supreme Court granted certiorari and issued its decision on

June 30, 2022. The Supreme Court issued its judgment on August 1,

2022. Doc. Id. No. 1957250.

     4. At this Court’s direction, the parties then filed motions to

govern. Doc. Id. No. 1964911. On October 27, 2022, the Court granted

the joint motion to govern filed by EPA, and denied the motions filed by

the State of North Dakota and Biogenic CO2 Coalition. Doc. Id. No.

1970895. It directed EPA to file status reports every 90 days. Id.

     5. Pursuant to the October 27, 2022 order, EPA states that

administrative proceedings for a new rulemaking action are ongoing.

On May, 8, 2023, the EPA Administrator signed a proposed rule

entitled, New Source Performance Standards for Greenhouse Gas

Emissions from New, Modified, and Reconstructed Fossil Fuel-Fired

Electric Generating Units; Emission Guidelines for Greenhouse Gas

Emissions from Existing Fossil Fuel-Fired Electric Generating Units;

and Repeal of the Affordable Clean Energy Rule.” That proposed rule


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was published in the Federal Register on May 23, 2023. 88 Fed. Reg.

33240.

                           Respectfully submitted,

Dated: August 24, 2023      /s/ Caitlin McCusker
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                     CERTIFICATE OF SERVICE
     I HEREBY CERTIFY that the foregoing was served on August 24,

2023, through the ECF filing system and will be sent electronically to the

registered participants as identified in the Notice of Electronic Filing.


                                          /s/ Caitlin McCusker




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